Case 18-24164-RAM Doc16-5 Filed 01/02/19 Pagelofi
NADAguides Pricing Information for 2017 WAVE RUNNER EX SPORT (Personal Watercraft)
Tuesday, November 27, 2018

Value Preview Interna! Reference id: M/A
Yamaha Vehicle Type: Personal Watercraft
1340 ce — Manufacturer: Yamaha
astain Koa Year: 2017
Kennesaw, GA 30144 -
(770) 420-5940 Model: WAVE RUNNER EX SPORT
Type: Jet Drive Boats

Length (feet): 10'
pa, Hull Material: Sheet Molded Compound
ce aia, Engine: 1-100 HP - Gasoline
eee Piston 1049
Displacement(CCs):

Suggested List Price: $7,599

Average Trade-In Average Retail
Base Price $5,130 $6,220
TOTAL PRICE $5,130 $6,220

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